AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Wisconsin

 

 

 

United States of America )
Timothy O'Brien xx/xx/1989 Case No. LO _ 8 7 M N T
)
)
- )
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 13, 2020 in the county of Kenosha in the
Eastern District of Wisconsin , the defendant(s) violated:
Code Section Offense Description
21 U.S.C, 841 Delivery of controlled substances

This criminal complaint is based on these facts:

Please see attached

raf Continued on the attached sheet.

LE

 

Complainant's signature

Special Agent Ricky Connors

 

Printed name and title

Sworn to before me and signed in my presence.

Date: Me a oF 0

 

City and state: Milwaukee, Wisconsin Honorable Nancy Joseph

 

Printed name and title

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTER DISTRICT OF WISCONSIN

AFFIDAVIT FOR A CRIMINAL COMPLAINT AND ARREST WARRANT
1. lam employed as a Special Agent with the United States Department of Justice,
Bureau of Alcohol, Tobacco, Pinsaeria and Explosives (ATF) assigned to the Milwaukee
Field Office since October of 2015. 1 have been employed as a full time law enforcement
officer for over 4 and 1/2 years. I have received training at the Federal Law Enforcement
Training Center in Glynco, GA. I attended the Criminal Investigator Training Program,
as well as ATF’s Special Agent Training Program. | have received training in the
investigation of unlawful possession of firearms, the unlawful transfer of firearms, and
the unlawful dealing in firearms without a dealers’ license. Prior to becoming a Special
Agent with the ATF, I received two (2) bachelor’s degrees from Northern Illinois
University in the fields of Sociology and International Relations. I have received a
Master’s degree from Northern Illinois University in the field of American Government.
2. I have received training in the investigation of firearms trafficking, and I work
alongside several senior ATF agents who have worked extensive firearms trafficking
investigations in the past. Based on my training, experience, and participation in firearms
trafficking investigations, | know and/or have observed the following:
e I have utilized informants to investigate firearms trafficking.
Through informant interviews and debriefings of individuals

involved in firearms trafficking, I have learned about the manner in

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which individuals and organizations distribute firearms in
Wisconsin;

e J have also relied on informants to obtain firearms from individuals
on the streets (as opposed to licensed gun dealers), known as a
controlled purchase;

e I have experience conducting street surveillance of individuals
engaged in firearms trafficking. I have participated in the execution
of numerous search warrants where firearms, ammunition,
magazines, and firearms cases have been seized;

¢ lam familiar with the language utilized over the telephone to discuss
firearms trafficking, and know that the language is often limited,
guarded, and coded;

e I know that firearms traffickers often use electronic equipment,
wireless and land-line telephones, and pagers to conduct firearms
trafficking operations;

e I know that drug traffickers commonly have in their possession, and
at their residences and other locations where they exercise dominion
and control, firearms, ammunition, and records or receipts
pertaining to such;

e I know that firearms traffickers often put their telephones in
nominee names to distance themselves from telephones that are

utilized to facilitate firearms trafficking;

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e Iknow that firearms traffickers often use proceeds to purchase assets
such as vehicles, property, jewelry, and narcotics. I also know that
firearms traffickers often use nominees to purchase and/or title
these assets to avoid scrutiny from law enforcement officials; and

e Iknow that firearms traffickers often use online firearms brokerage
websites, such as “Armslist,” to obtain firearms. I know that
individuals who utilize “Armslist,” will contact other users of the
site regarding the sale of firearms via electronic mail (hereinafter
referred to as EMAIL) and exchange phone numbers. Individuals
then discuss price and meet up locations to exchange money for the
firearms by phone. Individuals are not required to complete
background checks through “Armslist,” and individuals often do
not check to see if the person to whom they are transferring the
firearm is a convicted felon.

e Iknow that firearms traffickers will utilize social media platforms to
meet individuals and sell firearms. Most social media platforms have
groups intended to bring together common minded individuals for
the purpose of sale and acquisition of firearms. I am aware that
Facebook in particular has been utilized to broker firearms deals.

3. I have participated in several firearms trafficking investigations that involved
the seizure of computers, cellular phones, cameras, and other digital storage devices, and

the subsequent analysis of electronic data stored within these computers, cellular phones,
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cameras, and other digital storage devices. In many occasions, this electronic data has
provided evidence of the crimes being investigated and corroborated information
already known or suspected by law enforcement.

4. Furthermore, Affiant knows from training and experience it is common for drug
users, drug dealers, firearms traffickers, and firearms straw purchasers to communicate
via cellular phone through a variety of electronic media. It also common for firearm
traffickers and straw buyers to communicate through cellular phones and electronic
media. Many times drug dealers also act as firearms traffickers by utilizing the non-
prohibited status (no felony convictions) of drug users to obtain firearms. In turn, these
firearms are used by the drug trafficking organization to protect and secure their goods
and territory. The participants in these organizations can use text (SMS) messaging,
phone calls, electronic mail, messaging applications, and various social media
applications such as Facebook or Twitter.

5. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other investigators and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

6.1 respectfully submit that there is probable cause to believe that on or about
January 13, 2020, Timothy O’Brien committed crimes in violation of 21 U.S.C. §§ 841(a){1)

and 841(b)(1)(D).

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PROBABLE CAUSE

7,On September 20, 2017, Affiant obtained a Federal Search warrant for the
content of the Facebook page “TJ O’Brien,” with a corresponding Facebook ID of
1373617493. The Facebook report for the page “TJ O’Brien” covered the dates of
01/01/2015 through 09/20/2017.

8. Throughout the analysis of the Facebook page “TJ O’Brien”, several posts were
located discussing the sale and trade of firearms. The page “TJ O’Brien” also contains
several conversations documenting the consumption and sale of marijuana.

9. Throughout the Facebook page “TJ O’Brien,” there were approximately twenty-
one (21) conversations detailing the sale and consumption of marijuana. These posts
occurred between 06/02/2015 and 08/18/2017.

CONTROLLED PURCHASES

10. During the investigation we have conducted multiple “controlled buys.”
Based on my training and experience, I know a “controlled buy” is a law enforcement
operation in which an informant purchases drugs, firearms or other items from a target.
The operation is conducted using surveillance, usually audio and video taping
equipment, and pre-recorded purchase money. When an informant is used, s/he is
searched for contraband, weapons, and money before the operation. The informant is
also wired with a concealed body recorder and/or a monitoring device. When the
transaction is completed, the informant meets cases agents at a pre-determined meet
location and gives the purchased drugs, firearms or other purchased items and the

recording/ monitoring equipment to the case agents. The informant is again searched for

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contraband, weapons, and money and then interviewed by the case agents about the
transaction. A sample of the suspected drugs is then field tested by the case agents for
the presence of controlled substances and then placed in inventory pursuant to normal
inventory procedures. Ideally, all of the calls to the target by the informants are
consensually recorded calls under the direction and control of case agents and made in
the presence or direction of case agents. Additionally, case agents typically observe the
informants dial the target’s number on each occasion. On occasion, it is not feasible or
safe to record and monitor a telephone call made to a target. Typically, these unrecorded
calls are last minute adjustments or very short calls to indicate arrival, departure or other
less significant issues. Unless otherwise noted, the controlled buys and telephone
contacts summarized below were conducted pursuant to the above procedures. The
controlled buys conducted with OBRIEN are outlined below.

11. Beginning in June 2018, the affiant interviewed an ATF Confidential Informant
(herein referred to as “CI”) regarding OBRIEN. The Cl was shown a photograph of
OBRIEN from WI Department of Transportation Driver’s License # 0165-8108-91-6306
(image date: 05/11/2017). The Cl positively identified the individual in the photograph
as “TJ” (Facebook name of Timothy OBRIEN) the individual he/she knew to sell
marijuana. Additionally, the CI stated he/she believed he sold the male in the
photograph a firearm.

12. For several reasons, case agents believe that the Cl is reliable and credible. First,
CI has been providing continuous information since June 2018. Second, the information

provided by Cl is consistent with evidence obtained elsewhere in this investigation where

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Cl was not utilized, and substantial portions of Cl’s information have been corroborated
through independent investigation, including surveillance and information from other
sources. Third, the C] has made statements to case agents that are against his/her penal
interests, in that the Cl has admitted his/her involvement in the sale of firearms and
narcotics in the past. Finally, the CI has had an adequate opportunity to observe directly
the events discussed and/or has heard conversations directly from the individuals
discussed herein. The Cl is cooperating in exchange for credit in an ongoing investigation
in which he/she is a suspect. The CI utilized in this investigation has no known criminal
convictions. Investigators when possible independently corroborated information
provided by the Cl. Whenever possible text messages between the CI and OBRIEN were
monitored, recorded and documented by agents. All meetings between the CI and
OBRIEN were monitored, recorded and documented by agents.

13. Your affiant is aware of three controlled purchases conducted from Timothy
OBRIEN. All of the below controlled buys were arranged via OBRIEN’s Facebook
account. The CI would contact OBRIEN via OBRIEN’s Facebook messenger to coordinate
the amounts of marijuana to be purchased, total price for the drugs, and location for the
drug deal. Facebook messenger can be accessed through a variety of electronic devices,
including cellphones and computers.

14. In October 2018, the ATF Milwaukee Field Office conducted a controlled
purchase of suspected marijuana from Timothy OBRIEN. On that day, the ATF Cl
purchased fourteen (14) grams of green leafy substance from OBRIEN for $180.00. The

substance field tested positive for the presence of THC. The purchase occurred at

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OBRIEN’s former residence located at 6848 29th Avenue, Kenosha, WI. An ATF
undercover agent observed OBRIEN meet with the Cl] in the front of the residence and
immediately recognized OBRIEN and later identified OBRIEN from observing state of
Wisconsin Department of Transportation photographs.

15. In March 2019, the ATF CI conducted a controlled purchase from OBRIEN. The
purchase occurred out front of OBRIEN’s residence located at 6848 29th Avenue,
Kenosha, WI. On that day, the ATF CI purchased seven (7) grams of suspected marijuana
for $80.00. An ATF undercover agent observed OBRIEN meet with the CI. The green leafy
substance field tested positive for the presence of THC. During the interaction, OBRIEN
made several statements referring that he was a “gun guy.” All statements were video
and audio recorded.

16. On or about January 13, 2020, the ATF CI conducted a controlled purchase from
OBRIEN. OBRIEN instructed the CI to 9022 25th Avenue, Kenosha, WI, once he/she
arrived OBRIEN instructed the CI to enter the residence. At that location, OBRIEN sold
the CI] 14.1 grams of suspected marijuana for $140.00. OBRIEN’s marijuana and a firearm
were inside of the residence. The green leafy substance field tested positive for the
presence of THC. During the interaction, OBRIEN displayed an AR-15 style rifle to the
CI. Additionally, OBRIEN made several comments about the effectiveness of the
marijuana and how it would make one feel, indicating he is a user of marijuana. An ATF
undercover agent observed OBRIEN at the door of this residence. OBRIEN indicated he

moved into the residence in the summer of 2019.

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